
THE adjournment of this case originated in novelty and difficulty, touching the constitutionality, or judicial propriety of the judges of the District Court, carrying the following clause of an act of the General Assembly into execution, which was conceived to be opposed to, or in direct violation of the Constitution of the Commonwealth of Virginia.
The title and clause of the said act are thus: w An act “ reducing into. one, the several acts concerning the 4 establishment, jurisdiction, and powers of District w Courts.” (Passed December 12, 1792.)
*21“Sect. XI. Each of the said district courts in term time, “ or any judge thereof in vacation, shall, and may have “ and exercise the same power of granting injunctions “ to stay proceedings on any judgment obtained in any a of the said district courts, as is now had and exercised “ by the judge of the high court of chancery in similar “ cases, and the said district courts may proceed to the “ dissolution or final hearing of all suits commencing by “ injunction, under the same rules and regulations as are “ now prescribed by law for conducting similar suits in “ the high court of chancery.”
The Record, Arguments, and Decision, here follorv.
At a District Court, held at Dumfries, the twenty-third day of May, one thousand seven hundred and and ninety-three—Present, the Honourable Spencer Roane, Esq.
